                 Case 2:14-cr-00303-DC Document 78 Filed 10/18/17 Page 1 of 3


 1 Dina L. Santos, SBN 204200
   A Professional Law Corporation
 2 455 Capitol Mall, Suite 802
   Sacramento, CA 95814
 3 Telephone: (916) 447-0160
   Email: defense@dinasantos.com
 4

 5 Attorney for:
   SESAR PRADO
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                             CASE NO. 14-0303-GEB
10
                                      Plaintiff,           STIPULATION REGARDING EXCLUDABLE
11                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                           [PROPOSED] FINDINGS AND ORDER TO
12                                                         CONTINUE CASE TO 11/3/17 AT 9:00 A.M.
     SESAR PRADO,
13                                    Defendant

14
                                                     STIPULATION
15
            Plaintiff United States of America, by and through its counsel of record, Jason Hitt, and
16
     Defendant Sesar Prado, represented by Attorney Dina Santos hereby stipulate as follows:
17
            1.      By previous order, this matter was set for status on October 20, 2017.
18
            2.      By this stipulation, defendant now moves to continue the status conference until
19
     November 3, 2017, and to exclude time between October 20, 2017, and November 3, 2017, under Local
20
     Code T4. Plaintiff does not oppose this request.
21
            3.      The parties agree and stipulate, and request that the Court find the following:
22
                    a)       Counsel for defendants desire additional time to continue to conduct
23
            investigation, negotiate a possible plea agreement, and to otherwise prepare for trial.
24
                    b)       Counsel for defendants believe that failure to grant the above-requested
25
            continuance would deny them the reasonable time necessary for effective preparation, taking into
26
            account the exercise of due diligence.
27
                    c)       The government does not object to the continuance.
28

      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
30
                 Case 2:14-cr-00303-DC Document 78 Filed 10/18/17 Page 2 of 3


 1                  d)       Based on the above-stated findings, the ends of justice served by continuing the

 2          case as requested outweigh the interest of the public and the defendant in a trial within the

 3          original date prescribed by the Speedy Trial Act.

 4                  e)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 5          et seq., within which trial must commence, the time period of October 20, 2017, to November 3,

 6          2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

 7          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

 8          of the Court’s finding that the ends of justice served by taking such action outweigh the best

 9          interest of the public and the defendant in a speedy trial.

10          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

11 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

12 must commence.

13

14

15          IT IS SO STIPULATED.

16

17

18 Dated: October 12, 2017                                     PHILLIP TALBERT
                                                               United States Attorney
19

20                                                             /s/ Jason Hitt
                                                               JASON HITT
21                                                             Assistant United States Attorney

22

23 Dated: October 12, 2017                                     /s/ Dina L. Santos
                                                               DINA SANTOS, ESQ.
24                                                             Attorney for Sesar Prado

25

26

27

28

      Stip. & [Proposed] Order Continuing Status Conf. &   2
      Excluding Time Periods Under Speedy Trial Act
30
              Case 2:14-cr-00303-DC Document 78 Filed 10/18/17 Page 3 of 3


 1                                                        ORDER

 2         IT IS SO FOUND AND ORDERED.

 3         Dated: October 17, 2017

 4

 5

 6
                                                                HON. GARLAND E. BURRELL
 7                                                              UNITED STATES DISTRICT JUDGE

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     Stip. & [Proposed] Order Continuing Status Conf. &     3
     Excluding Time Periods Under Speedy Trial Act
30
